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                                              of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                      OFFICE OF THE CLERK

 JEFFREY P. COLWELL
                                                                                      Room A-105
 CLERK OF COURT                                                         Alfred A. Arraj United States Courthouse
                                                                                     901 19th Street
                                                                                Denver, Colorado 80294
                                                                                  Phone(303) 844-3433
 August 18, 2020                                                                 www.cod.uscourts.gov


 Clerk
 U.S. Court of Appeals for the Tenth Circuit
 Byron White United States Courthouse
 1823 Stout Street
 Denver, CO 80257

 RE: USA v. McClaflin

 District Court Case No. 17-cr-168 CMA
 Court of Appeals Case No. 20-1268

 Dear Clerk:

 Enclosed please find the Record on Appeal involume
                                               (2) three              s which consist of the IROORZLQJ


 Volume I - Electronic Pleadings
 Volume II - Restricted Level 2 Pleadings




                                                           JEFFREY P. COLWELL, CLERK


                                                           By: s/ E. Van Alphen,
                                                           Deputy Clerk
